Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 1 of 7




                                  SAG-20-0206
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 2 of 7
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 3 of 7
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 4 of 7
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 5 of 7
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 6 of 7
Case 1:20-cr-00206-SAG Document 1 Filed 07/21/20 Page 7 of 7
